






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00332-CR






Martin Lujan, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NO. D-1-DC-11-204642, THE HONORABLE KAREN SAGE, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Martin Lujan seeks to appeal from a judgment of conviction for
family&nbsp;violence assault.  See Tex Penal Code Ann. § 22.01(b)(2)(A) (West 2011).  The trial court
has certified that this is a plea bargain case and Lujan has no right of appeal.  Accordingly, the appeal
is dismissed for want of jurisdiction.  See Tex. R. App. P. 25.2(a)(2), (d).



						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed for Want of Jurisdiction

Filed:   June 8, 2012

Do Not Publish


